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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                   MDL No. 2924
   PRODUCTS LIABILITY                           20-MD-2924
   LITIGATION
                                                JUDGE ROBIN L. ROSENBERG
                                                MAGISTRATE JUDGE BRUCE E. REINHART
   _____________________________ _/

   THIS DOCUMENT RELATES TO:

   Campion v. GlaxoSmithKline LLC, et al.,             No. 24-cv-80265 (S.D. Fla.).
   Cusick v. GlaxoSmithKline LLC, et al.,              No. 24-cv-80271 (S.D. Fla.).
   Rascento v. GlaxoSmithKline LLC, et al.,            No. 24-cv-80264 (S.D. Fla.).
   Rounds v. GlaxoSmithKline LLC, et al.,              No. 24-cv-80266 (S.D. Fla.).




                                      MOTION TO REMAND

          The above-captioned Plaintiffs (“Plaintiffs”), by and through undersigned counsel, move

   this court to remand these four cases, illegally removed from Delaware state court pursuant to 28

   U.S.C. § 1447(c). This motion is filed with leave of Court pursuant to Amended Pretrial Order #

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                                             INTRODUCTION

           In February 2024, the Defendants,1 in violation of federal statutes, removed the above-

   captioned cases from Delaware state court, claiming federal subject matter jurisdiction when

   none existed. Pursuant to 28 U.S.C. § 1447(c), Plaintiffs request that these cases be remanded

   back to Delaware state court.

           The Plaintiffs are among many others who allege that they developed cancer from the use

   of the Defendants’ ranitidine-containing drugs. These cases were originally filed in the

   Delaware Superior Court of New Castle County, among 70,000 similar claims, in the Fall of

   2022. However, Defendants later identified a few hundred Plaintiffs in that action who, they

   claim, had been certified to participate in the Zantac Multidistrict Litigation (“MDL”) pursuant

   to the Pretrial Order No. 72 (“PTO 72”). Thus, they maintain, those cases should have been filed

   in the MDL, and then promptly dismissed based on the Court’s general causation ruling.

           In Campion and Rounds, the Plaintiffs and one of the named Defendants, Patheon, are

   citizens of Pennsylvania. Thus, this Court does not have diversity jurisdiction over the lawsuit.

   Indeed, Defendants do not dispute this. However, they argue that Patheon is fraudulently joined,

   i.e., that a claim against Patheon is impossible. Defendants claim that Plaintiffs Campion and

   Rounds were certified participants in this MDL pursuant to PTO 72 and, thus, agreed to be

   estopped from suing any diversity-destroying Defendants, including Patheon. However,

   Plaintiffs Campion and Rounds dispute this—they never consented or authorized any

   certification in this MDL under PTO 72. If this is true, then PTO 72’s estoppel provisions

   cannot, as a matter of law, bind them; and, thus, their claims against Patheon are not impossible.



   1
     Defendants are GlaxoSmithKline, LLC, Pfizer, Inc., Boehringer Ingelheim Pharmaceuticals, Inc., Boehringer
   Ingelheim USA Corporation, Sanofi-Aventis U.S. LLC, Sanofi U.S. Services, Inc., and Patheon Manufacturing
   Services LLC.

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   Factual disputes must be weighed in favor of the party seeking removal—and, on this record, this

   Court simply cannot find that Patheon was fraudulently joined. Remand must issue.

          In Cusick, although there is complete diversity amoung the parties, the Defendants’

   removal was illegal under the forum defendant bar. Each of the removing defendants is a citizen

   in Delaware, and thus by statute, are forbidden from seeking removal once served (which they

   were). Defendants gloss over this disregard of federal law by arguing that Plaintiff Cusick

   waived any right to challenge removal by certifying participation in the MDL pursuant to PTO

   72. But, like Campion and Rounds, Plaintiff Cusick (specifically, her personal representative)

   never authorized or consented to certification in the MDL. So, on these facts—which must be

   viewed in a light most favorable to Plaintiff—there was consent to removal. The removal was

   simply illegal. And, on that basis, this Court must remand pursuant to the forum defendant bar.

          The terms of certification explicitly required the consent of the Plaintiffs, but Plaintiffs

   Campion, Cusick, and Rounds did not consent to or authorize certification. These Plaintiffs

   explicitly authorized their cases to be filed in state court in Delaware, not the MDL. Indeed, they

   were unaware their cases had ever been certified or filed in federal court, or that the terms of

   certification might bar them from filing elsewhere. Under these circumstances, sorting out

   whether these Plaintiffs are now barred from pursuing their Delaware state action will require

   discovery and a hearing of the legal and factual issues involved—likely subject to a trier of fact.

   Absent jurisdiction or a valid removal, this Court is simply not the correct venue to adjudicate

   these issues.

          Plaintiff Rascento presents a different circumstance. In his Delaware state action, Mr.

   Rascento, a citizen of Massachusetts, also named Defendant Patheon, also a citizen of

   Massachusetts, thereby destroying diversity. However, Plaintiff Rascento certified his stomach



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   cancer case for participation in the MDL—which the MDL leadership had included as a

   “designated” cancer—but deliberately chose to pursue his prostate cancer claim in the Delaware

   state court—where the leadership is actively pursuing the cancer type. Thus, while his claim

   related to stomach cancer may be estopped by his acceding to PTO 72, his claim involving

   prostate cancer is not. Therefore, his claim against Patheon, alleging a prostate cancer injury, is

   not fraudulently joined. This Court must remand it for lack of subject matter jurisdiction.

          Plaintiffs respectfully request that the Court enter an order remanding all four cases back

   to Delaware state court so that they may continue to proceed where they were, originally, filed

   almost two years ago.

                                           BACKGROUND

          These four cases were originally filed in the Superior Court of New Castle County in the

   Fall of 2022. In the Delaware proceeding, which involves over 70,000 filed cases, Defendants

   identified a few hundred plaintiffs that had, according to Defendants’ records, were “Certified

   Federal Participants” (“CFPs”) pursuant the federal Multidistrict Litigation (“MDL”) Pretrial

   Order 72. In essence, Defendants argued that because these plaintiffs, in a separate proceeding,

   agreed to the provisions in this MDL’s PTO 72, they should not have been filed in Delaware

   state court. Defendants believe that the issue, i.e., whether PTO 72 prohibits certain plaintiffs

   from proceeding with otherwise valid state court claims in Delaware state court, should be

   addressed by the MDL Court. Plaintiffs, however, do not believe the MDL Court is the

   appropriate forum to address this issue because there is no legal way for cases filed against

   forum Defendants (and with several of them also lacking complete diversity) to be brought

   before the MDL on removal absent violating federal law. Defendants disagreed and threatened

   to engage in wholesale removal of claims, which would have thrown a massive wrench in the



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   Delaware proceedings—which are now awaiting a Daubert ruling on general causation. So,

   Delaware Co-Lead counsel brokered an agreement with Defendants.

          Each side selected two alleged CFP plaintiffs (total of four) with cases proceeding in

   Delaware. Those four plaintiffs would then file individual complaints in Delaware and serve

   each on the forum Defendants. Then, Defendants would attempt removal of the cases to federal

   court and the Parties agreed to address remand before the MDL. Plaintiffs maintain that this

   Court’s ruling will make it clear that any concerns regarding the propriety of CFPs filing cases in

   Delaware state court—which implicates complicated individual facts concerning notice, agency,

   consent, and estoppel—should be litigated in the court that has jurisdiction to address those

   factual issues and legal issues, not a Court that lacks jurisdiction. Defendants believe that this

   Court will assert jurisdiction over these cases and ultimately rule to dismiss them entirely,

   outside of their home state forum of Delaware. Either way, the Court’s ruling on this motion to

   remand might help inform the Parties of whether future removals are warranted and/or whether

   the nuanced factual issues attendant to the alleged certifications made in the MDL should be

   addressed in the Delaware proceeding.

          The four plaintiffs at issue originally filed their cases in bundled complaints in Delaware

   state court.   Plaintiff Cusick was originally filed on September 13, 2022, in Durmach v.

   GlaxoSmithKline LLC, et al., No. N22C-09-225 VLM. Plaintiff Campion was originally filed on

   September 13, 2022, in Ruchin v. GlaxoSmithKline LLC, et al. No. N22C-09-237 VLM. Plaintiff

   Rascento was originally filed on November 15, 2022, in Lescord v. GlaxoSmithKline LLC, et al.,

   No. N22C-11-114 ZAN. And, Plaintiff Rounds was originally filed on September 13, 2022, in

   Haskell v. GlaxoSmithKline LLC, et al., No. N22C-09-304 VLM. Pursuant to an MDL agreement,

   Plaintiffs Cusick, Campion, Rascento, and Rounds filed individual Delaware complaints in



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   January 2024.2 Defendants then, on February 16, 2024, removed the cases to federal court. Notice

   of Removal.3 By agreement, the cases were then noticed for tag-along to the MDL and the cases were

   ordered transferred to this MDL on March 6, 2024.

           In compliance, leave to file a motion to remand, consistent with this MDL’s filing

   procedures, was filed on April 9, 2024, along with this motion to remand. The Parties have

   previously agreed that Plaintiffs will not object to removal under the one-year rule because each

   Plaintiffs’ case proceeded in state court for over 1 year. See 28 U.S. Code § 1446(c)(1). That said,

   by agreeing to sever these four cases as individual complaints, knowing they would be improperly

   removed, Plaintiffs preserved all objections to removal. Additionally, the Parties have agreed that

   by delaying a motion to remand so that this case could be coordinated before the MDL, there was

   no waiver of a challenge to removal under 28 U.S.C. § 1447(c).

           The lawsuits in federal court name GlaxoSmithKline, LLC; GlaxoSmithKline Holdings

   (Americas), Inc.; GlaxoSmithKline, PLC; and 18 generic manufacturers, not named in the

   Delaware Complaint, while the Delaware lawsuit names Defendants GlaxoSmithKline, LLC;

   Pfizer, Inc.; Boehringer Ingelheim Pharmaceuticals, Inc.; Boehringer Ingelheim USA

   Corporation; Sanofi-Aventis U.S. LLC; Sanofi U.S. Services, Inc.; and Patheon Manufacturing

   Services LLC.

           Campion is a death case, with the plaintiff’s husband, William H. Campion, acting as her

   personal representative. Campion, Declaration at ¶ 1. The decedent allegedly developed



   2
     Cusick v. GlaxoSmithKiline LLC, et al. No. N24C-01-112 ZAN, filed Jan 16, 2024.
   Campion v. GlaxoSmithKline LLC, et al., No. N24C-01-111 ZAN, filed Jan. 15, 2024.
   Rascento v. GlaxoSmithKline LLC, et al., No. N24C-01-106 ZAN, filed Jan 16, 2024.
   Rounds v. GlaxoSmithKline LLC, et al., No. N24C-01-194 ZAN, filed Jan 24, 2024.
   3
     Not. of Removal, Campion v. GlaxoSmithKline LLC, et al., No. 24-cv-80265 (S.D. Fla.), Dkt.
   Not. of Removal, Cusick v. GlaxoSmithKline LLC, et al., No. 24-cv-80271 (S.D. Fla.).
   Not. of Removal, Rascento v. GlaxoSmithKline LLC, et al., No. 24-cv-80264 (S.D. Fla.).
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    pancreatic cancer caused by ranitidine products she consumed. Campion January 15th, 2024

    Complaint. The decedent’s representative alleges consumption of over-the-counter ranitidine

    products between 2007 and 2015. Campion, Declaration at ¶ 2. The original lawsuit was filed on

    September 13, 2022 in a bundled complaint, Ruchin v. GlaxoSmithKline LLC, et al. No. N22C-09-

    237 VLM. Then, pursuant to the agreement discussed above, was filed individually on January

    15, 2024 in Campion v. GlaxoSmithKline LLC, et al., No. N24C-01-111 ZAN. Mr. Campion

    retained Wisner Baum, LLP (“Wisner-Baum”) on May 29, 2022 to represent her in this

    litigation. Campion, Declaration at ¶ 3. Wisner-Baum never registered the case to participate in

    the federal MDL. Renee Campion was a citizen of Pennsylvania. Campion, Notice of Removal

    at ¶ 2. Mr. Campion has no recollection of interacting with any firm other than Wisner-Baum

    regarding representation of his claim. Campion, Declaration at ¶ 5. Romanucci & Blandin, LLC

    (“Romanucci & Blandin”) certified his case pursuant to PTO 72 on June 30, 2022. Campion,

    Notice of Removal at ¶ 8. Mr. Campion never provided authority or consented to such a

    certification. Campion, Declaration at ¶ 6-7. Mr. Campion did, however, give authority to

    Wisner Baum to file his case in Delaware. Campion, Declaration at ¶ 4. Then, on April 3, 2023,

    unbeknownst to Mr. Campion, Romanucci & Blandin, LLC filed a second case in this MDL.

    Campion, Notice of Removal at ¶ 12.

           Cusick is a death case, with the decedent’s daughter, Cathy Williams as the personal

    representative. Cusick, Declaration at ¶ 1. The decedent allegedly developed stomach cancer

    caused by exposure to NDMA from ranitidine products he consumed. Cusick, January 16, 2024

    Complaint. The decedent’s representative alleges consumption of prescription and over-the-

    counter ranitidine products between 2000 and 2005. Cusick, Declaration at ¶ 2. The original

    lawsuit was filed on September 13, 2022 in a bundled complaint, Durmach v. GlaxoSmithKline



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    LLC, et al., No. N22C-09-225 VLM. Then, pursuant to the agreement discussed above, was

    filed individually on January 16, 2024 in Cusick v. GlaxoSmithKiline LLC, et al. No. N24C-01-

    112 ZAN. Ms. Williams retained Wisner Baum, LLP on July 9, 2020 to represent her in this

    litigation. Cusick, Declaration at ¶ 4. Wisner-Baum never registered the case to participate in

    the federal MDL. Ms. Williams is a citizen of Missouri. Cusick, Notice of Removal at ¶ 2. Ms.

    Williams recalls interacting with a local Missouri law firm, Carey, Danis & Lowe, but was under

    the impression that the firm worked with Wisner-Baum, LLP. Cusick, Declaration at ¶ 6. Carey

    Danis & Lowe LLC (“Carey Danis & Lowe”) certified her case pursuant to PTO 72 on June 30,

    2022. Cusick, Notice of Removal at ¶ 8. Ms. Wiliams never provided authority or consented to

    such a certification. Cusick, Declaration at ¶ 5, 7, 8. Ms. Williams did, however, give authority

    to Wisner Baum, LLP to file her case in Delaware. Cusick, Declaration at ¶ 4. Then, on

    February 13, 2023, unbeknownst to Ms. Williams, Carey Danis & Lowe filed a second case in

    this MDL. Cusick, Notice of Removal at ¶ 12.

           Rounds is similar to Cusick. It involves a case in which different firms filed in each

    venue, the plaintiff was unaware of that they had dual representation, the plaintiff was also

    unaware of the dual filings, and the firms were unaware of the other’s representation. Rounds,

    Declaration at ¶ 3-7. The case is primarily distinguished from Cusick in that Mr. Rounds is still

    living. Mr. Rounds allegedly developed bladder cancer caused by exposure to NDMA from

    ranitidine products he consumed. Rounds, January 24, 2024 Complaint. Mr. Rounds alleges

    consumption of over-the-counter ranitidine products between 1998 and 2010. Rounds,

    Declaration at 2. The original lawsuit was filed on September 13, 2022 in a bundled complaint,

    Haskell v. GlaxoSmithKline LLC, et al., No. N22C-09-304 VLM. Then, pursuant to the agreement

    discussed above, was filed individually on January 24, 2024 in Rounds v. GlaxoSmithKline LLC,



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    et al., No. N24C-01-194 ZAN. Mr. Rounds retained Moore Law Group, PLLC (“MLG”) on

    October 30, 2020 to represent him in this litigation. Rounds, Declaration at ¶ 4. MLG never

    registered the case to participate in the federal MDL. Mr. Rounds is a citizen of Massachusetts.

    Rounds, Motion for Remand at ¶ 2. Mr. Rounds has no recollection of interacting with any firm

    other than MLG regarding representation of his claim. Rounds, Declaration at ¶ 5-7. Keller-

    Postman LLC (“Keller-Postman”) certified his case pursuant to PTO 72 on June 30, 2022.

    Rounds, Notice of Removal at ¶ 8. Mr. Rounds never provided authority or consented to such a

    certification. Rounds, Declaration at ¶ 7-8. Mr. Rounds did, however, give authority to MLG to

    file his case in Delaware. Rounds, Declaration at ¶ 4. Then, on February 24, 2023, unbeknownst

    to Mr. Campion, Keller-Postman filed a second case in this MDL. Rounds, Notice of Removal at

    ¶ 12.

            Rascento represents cases in which the same firm filed in both venues. Mr. Rascento is a

    citizen of Pennsylvania. Rascento, Notice of Removal at ¶ 2. Trammell PC (“Trammell”) certified

    the case for the MDL on June 30, 2022. Trammel originally filed the case in Delaware on

    November 11, 2022 in Lescord v. GlaxoSmithKline LLC, et al., No. N22C-11-114 ZAN. Trammell

    later filed the case individually in Delaware on January 16, 2024 in Rascento v. GlaxoSmithKline

    LLC, et al., No. N24C-01-106 ZAN. Trammel later filed an individual complaint in the MDL on

    January 16, 2024. Rascento, Notice of Removal at ¶ 11. Mr. Rascento had multiple cancer

    diagnoses. When Trammell certified the case for participation in the MDL, they only certified his

    claim with a designated cancer diagnosis. They then filed out of caution in Delaware with the hope

    of pursuing a claim on Mr. Rascento’s non-designated cancer diagnoses.

                                         LEGAL STANDARD

            A removing defendant has the burden of establishing both federal jurisdiction and



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    compliance with the procedures for removal set forth in 28 U.S.C. § 1446, as a matter of fact and

    law.” Sibilia v. Makita Corp., 674 F. Supp. 2d 1290, 1291 (M.D. Fla. 2009). The statutory

    nature of removal requires that it be construed strictly in favor of state court jurisdiction.

    Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100, 108-09, 61 S. Ct. 868, 85 L. Ed. 1214

    (1941).

                                                ARGUMENT

       I. Plaintiffs Campion and Rounds Did Not Consent to or Authorize Certification
          under PTO 72 and, thus, this Court Cannot Conclude that a Claim Against
          Diversity-Destroying Defendant Patheon Is Fraudulently Joined or Estopped

              Federal courts are courts of limited jurisdiction; they may only hear cases that the

    Constitution and Congress have authorized them to hear. Kokkonen v. Guardian Life Ins. Co. of

    Am., 511 U.S. 375, 377 (1994). An action originally brought in state court can only be removed

    by a defendant to federal court pursuant to federal law. 28 U.S.C. § 1441. “A defendant’s right

    to remove an action against it from state to federal court ‘is purely statutory and therefore its

    scope and the terms of its availability are entirely dependent on the will of Congress.’” Glob.

    Satellite Commc'n Co. v. Starmill U.K. Ltd., 378 F.3d 1269, 1271 (11th Cir. 2004) (quoting 14B

    Charles Alan Wright, Arthur R. Miller, & Edward H. Cooper, Federal Practice and Procedure §

    3721, pp. 285–86 (3d ed.1998)). Indeed, “removal statutes are construed narrowly; where

    plaintiff and defendant clash about jurisdiction, uncertainties are resolved in favor of remand.”

    Burns v. Windsor Ins. Co., 31 F.3d 1092, 1095 (11th Cir. 1994).

              “When a case is removed based on diversity jurisdiction,” like here, “the case must be

    remanded to state court if there is not complete diversity between the parties[.]” Stillwell v.

    Allstate Ins. Co., 663 F.3d 1329, 1332 (11th Cir. 2011) (emphasis added) (citing Strawberidge v.

    Curtiss, 7 U.S. 267, 267 (1806)). This is because, without complete diversity, the Court lacks



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    subject matter jurisdiction over the lawsuit.

           It is error to rule on a merits-based motion prior to ruling on subject-matter jurisdiction.

    Univ. of S. Alabama v. Am. Tobacco Co., 168 F.3d 405, 411 (11th Cir. 1999) (“[T]he district

    court should have resolved the issue of subject matter jurisdiction before reaching the merits of

    any other issue.”). “[A] federal court must remand for lack of subject matter jurisdiction

    notwithstanding the presence of other motions pending before the court” and such a motion must

    be addressed “at the earliest possible stage in the proceedings[.]” Id. at 410 (emphasis added).

    This mandate is rooted in “significant federalism concerns … because if a federal court reaches

    the merits of a pending motion in a removed case where subject matter jurisdiction may be

    lacking it deprives a state court of its right under the Constitution to resolve controversies in its

    own courts.” Id. This constitutional mandate, enshrined in federal law provides “[i]f at any time

    … it appears that the district court lacks subject matter jurisdiction, the case shall be

    remanded[.]” 28 U.S.C. § 1447(c) (emphasis added). And, the Eleventh Circuit holds “[t]his

    provision is mandatory and may not be disregarded[.]” Univ. of S. Alabama, 168 F.3d at 410

    (emphasis added).

           Here, Plaintiffs Campion and Rounds filed claims against Patheon. Campion, Jan. 16,

    2024 Complaint at ¶ 8; Rounds, Jan. 16, 2024 Complaint at ¶ 8. Patheon is a limited liability

    company that has members that are citizens of Delaware, New York, California, Massachusetts,

    Wisconsin, and Pennsylvania. Campion, Jan. 16, 2024 Complaint at ¶ 8; Rounds, Jan. 24, 2024

    Complaint at ¶ 8. Plaintiffs Campion and Rascento are citizens of Pennsylvania (Plaintiff

    Campion actually resided in Delaware, but for purposes of diversity, the citizenship of where the

    decedent passed is used). Campion, Notice of Removal at ¶ 2; Rounds, Jan. 24, 2024 Complaint

    at ¶ 11. Thus, there is not complete diversity of citizenship. With Patheon as a named



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    defendant, this Court does not have subject matter jurisdiction over Plaintiffs’ Campion and

    Rounds.

             Defendants argue that this Court should disregard Patheon as defendant because it is,

    according to them, fraudulently joined. See, e.g., Campion, Notice of Removal at ¶ 18. To

    establish fraudulent joinder, “the removing party has the burden of proving by clear and

    convincing evidence that … there is no possibility the plaintiff can establish a cause of action

    against the resident defendant[.]” Stillwell, 663 F.3d at 1332 (emphasis added) (quoting Crowe,

    113 F.3d at 1538).4 The Court must “construe removal statutes strictly” and resolve “all doubts

    about jurisdiction … in favor of remand to state court.” Univ. of S. Alabama v. Am. Tobacco

    Co., 168 F.3d 405, 411 (11th Cir. 1999) (emphasis added, citations omitted). This burden is,

    intentionally, “a heavy one.” Fransas v. Brenntag N. Am. Inc., No. 9:17-CV-80058, 2017 WL

    9292098, at *2 (S.D. Fla. Mar. 10, 2017) (J. Rosenberg). “A presumption in favor of remand is

    necessary because if a federal court reaches the merits of a pending motion in a removed case

    where subject matter jurisdiction may be lacking it deprives a state court of its right under the

    Constitution to resolve controversies in its own courts” and “‘offends fundamental principles of

    separation of powers[.]”” Univ. of S. Alabama, 168 F.3d at 411 (quoting Steel Co. v. Citizens for

    a Better Env’t, 523 U.S. 83, 94 (1998)).

             In assessing whether a claim is “possible,” the Court cannot use federal pleading

    standards. Stillwell, 663 F.3d at 1334. Unlike the plausibility standard in federal

    court,“[n]othing in [Eleventh Circuit] precedents concerning fraudulent joinder requires anything

    more than conclusory allegations[.]” Id. “Where a plaintiff states even a colorable claim against



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      Fraudulent joinder can also be established if the removing party can prove that the plaintiff “has fraudulently pled
    jurisdictional facts to bring the resident defendant into state court.” Stillwell, 663 F.3d at 1332. However, there is no
    claim of actual fraud raised in any Notice of Removal and, thus, it does not form the basis for any removal.

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    the resident defendant, joinder is proper and the case should be remanded” for lack of subject

    matter jurisdiction. Pacheco de Perez v. AT&T Co., 139 F.3d 1368, 1380 (11th Cir. 1998).

           Here, Defendants argue that Plaintiff Campion’s and Rounds’s claims against Patheon are

    impossible because, according to them, they agreed to be estopped from suing Patheon when

    they became a CFPs under PTO 72. See, e.g., Campion, Notice of Removal at ¶ 18. Thus,

    Defendants ask that Patheon be dismissed, and subject matter jurisdiction found.

           This would be error. For Plaintiffs Campion and Rounds, there is a dispute about

    whether consent was given to be bound by PTO 72. Indeed, it is not clear what law even

    governs in this context. Hayes v. Nat’l Serv. Indus., 196 F.3d 1252, 1254 (11th Cir. 1999) (“We

    also refer to state law principles when reviewing the scope of an attorney’s authority to enter into

    a settlement agreement.”). Assuming the law of Pennsylvania governs, “[t]he law … is clear and

    well-settled that an attorney must have express authority in order to bind a client to a settlement

    agreement.” Reutzel v. Douglas, 870 A.2d 787, 789–90 (Pa 2005); accord Dixie Operating Co.

    v. Exxon Co., U.S.A., 493 So. 2d 61, 63 (Fla. Dist. Ct. App. 1986) (“It is well-settled in Florida

    that a settlement agreement entered into by an attorney is enforceable only when it has been

    determined that the attorney was given ‘clear and unequivocal’ authority by the client to

    compromise the claim.”); Nagyiski v. Smick, No. U507-08-0055, 2009 WL 5511159, at *2 (Del.

    Com. Pl. Dec. 9, 2009) (“When participating in settlement negotiations, an attorney must have

    actual authority from his client to reach a settlement agreement on the client’s behalf.”). Here,

    both Plaintiffs never consented to the provisions of PTO 72. Campion, Declaration at ¶ 6-7;

    Rounds, Declaration at ¶ 6-7. Thus, resolving whether that is, factually, true, is a question that

    will determine whether Plaintiffs Campion and Rounds claims against Patheon are estopped—

    fundamentally, an adjudication that hinges on merits determinations.



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           In the context of a fraudulent joinder inquiry, this Court must construe “all contested

    issues of fact in favor of the plaintiff.” Crowe v. Coleman, 113 F.3d 1536, 1542 (11th Cir.

    1997). The Court cannot wade into a factual dispute, or make factual findings, before subject

    matter jurisdiction exists. See Univ. of S. Alabama, 168 F.3d at 411.

           Univ. of S. Alabama is instructive. In Alabama, the University of Alabama brought a

    claim against various tobacco companies, which was removed to federal court. Id. at 408.

    Shortly after removal, the State of Alabama filed a request for dismissal, claiming that it was the

    true plaintiff “because the University is an agency and instrumentality of the state.” Id. Then,

    the University of Alabama filed a motion to remand. Id. The district court ultimately dismissed

    the case, agreeing with the State of Alabama, and never ruled on the motion to remand. Id. The

    Eleventh Circuit reversed, holding that the district court was required to adjudicate subject matter

    jurisdiction before delving into the complex legal question about the ability of the State of

    Alabama to dismiss the case. Id. at 410–11. And, determining the “scope of the Attorney

    General’s authority” without “first confirming its own jurisdiction” was error. Id. at 411.

           The same logic applies here. Determining the scope of these Plaintiffs’ consent to

    certification under PTO 72 is an important and potentially complicated legal and factual inquiry.

    Once a choice of law is applied, the will then need to interpret that state law, oversee discovery

    (potentially involving hostile third parties), and then, assuming such questions are amendable to

    summary judgment, rule. But, before this Court can reach those complicated questions, it must

    have jurisdiction. And, here, without complete diversity, this Court does not have jurisdiction

    over the Campion and Rounds matters. And, for the purposes of this motion to remand, in face

    of sworn statements from Plaintiffs Campion and Rounds that they never gave any consent to

    become a CFP, Defendants cannot establish, with clear and convincing evidence, that Plaintiff



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    Campion’s and Rounds’s claims against Patheon are fraudulently joined, i.e., impossible.

           It does not matter that PTO 72 specifically states that “this Court will decide any dispute

    about whether the Certified Federal Participant is obligated to file his or her action only in

    federal court.” PTO 72 at ¶ 6. Before applying PTO 72 to any plaintiff, there is a threshold

    question of whether a plaintiff consented to being a CFP. And, unless and until, the record

    proves that plaintiff did actually consent to being a CFP—this Court must construe the record in

    Plaintiff’s favor and order remand.

    II.    Plaintiff Cusick’s Personal Representative Did Not Consent to or Authorize
           Certification under PTO 72, So There Was No Consent to Defendants’ Illegal
           Removal Under the Forum Defendant Bar

           A defendant’s ability to remove an action from state court to federal court based on

    diversity of citizenship, is limited by the “Forum Defendant Rule.” 28 U.S.C. 1441(b). Under

    this rule, a “civil action otherwise removable solely on the basis of” diversity of citizenship,

    “may not be removed if any of the parties in interest properly joined and served as defendants is

    a citizen of the State in which such action is brought.” 28 U.S.C. § 1441(b)(2). This is a

    statutory bar to removal—“by its own language” the statute expressly states that a served forum

    defendant “may not remove.” Taklani v. Target Corp., No. 9:19-CV-80859, 2019 WL

    13235646, at *2 (S.D. Fla. Nov. 5, 2019) (J. Rosenberg) (quoting 28 U.S.C. § 1441(b)(2)). And,

    this rule makes sense. “Congress intentionally created a scheme whereby a plaintiff could select

    its own forum, except when that forum was presumptively prejudicial to the defendant.” Jirau v.

    Wathen, No. 8:14-CV-1205-T-33, 2014 WL 3695388, at *4 (M.D. Fla. July 24, 2014) (quoting

    Hawkins v. Cottrell, Inc., 785 F. Supp. 2d 1361, 1372 (N.D. Ga. 2011)).

           Here, it is undisputed that each of the Brand Defendants is incorporated under the laws of

    Delaware and, as such, each they are citizens of Delaware. Thus, because each Defendants was



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    served with the underlying actions pursuant to the electronic service agreement in operation in

    the Delaware proceedings, under the clear language of 28 U.S.C. § 1441(b)(2), federal law

    prohibited removal. See Goodwin v. Reynolds, 757 F.3d 1216, 1221 (11th Cir. 2014).

           Defendants must concede as much. See, e.g., Campion, Motion to Remand at ¶ 22-31.

    However, they argue that if a plaintiff agreed to the provisions of PTO 72, then that plaintiff

    waived any right to challenge removal. See PTO 72 ¶ 6 (“Certified Federal Participant will not

    oppose removal of the action to federal court and subsequent transfer of the action to this

    MDL.”). Conceivably, this could be construed as enforcement of a forum selection clause in a

    contract, where at least one court has held that such a provision can override the forum defendant

    bar. See Cap. Rest. Grp., LLC v. Burger King Corp., No. 19-22131-CIV, 2019 WL 5102162, at

    *3 (S.D. Fla. Oct. 11, 2019); Pacheco, 139 F.3d at 1372 (11th Cir. 1998) (“procedural defect

    does not render that defect meaningless; rather, the defect is waivable[.]”). Such a holding,

    however, is difficult to square with Supreme Court’s acknowledgement that private agreements

    cannot “work a wrongful extension of federal jurisdiction and give district courts power the

    Congress has denied them.” Am. Fire & Cas. Co. v. Finn, 341 U.S. 6, 18 (1951). Indeed, “[t]he

    jurisdiction of a court over the subject matter of a claim involves the court’s competency to

    consider a given type of case, and cannot be waived or otherwise conferred upon the court by the

    parties.” Jackson v. Seaboard Coast Line R. Co., 678 F.2d 992, 1000 (11th Cir. 1982). Parties

    cannot contract to allow violations of federal law, i.e., the forum defendant bar, to expand

    jurisdiction beyond the limits imposed by Congress and, ultimately, the Constitution.

           That said, this Court does not need to determine whether Plaintiff Cusick can, by

    agreement, allow Defendants to perform an illegal removal. Before reaching that question, there

    is a threshold factual dispute about whether Plaintiff Cusick’s personal representative gave



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    consent to certifying the case pursuant to PTO 72. Her testimony is clear—she did not. Cusick,

    Declaration at ¶ 5, 7, 8. She never authorized any attorney to certify her case. In fact, she did

    not understand that the two law firms she was corresponding with were, in fact, different entities.

    Cusick, Declaration at ¶ 6. She understood that Wisner Baum, LLP represented her for her

    lawsuit and understood that her case was proceeding Delaware. Cusick, Declaration at ¶ 3, 4.

    Under Missouri law, which presumably governs the relationship between Plaintiff Cusick’s

    personal representative and the law firm in Missouri that certified her claim without her consent,

    an attorney’s authority “is limited to procedural matters. It does not extend to the surrender of

    any of the client’s substantive rights” absent express authority. Barton v. Snellson, 735 S.W.2d

    160, 162 (Mo. Ct. App. 1987). “Thus, an attorney must have express authority to bind his client

    to a settlement agreement; and, conversely, no implied authority … arises from the mere fact of

    an attorney’s employment.” Id. Without that consent or express authority, no CFP certification

    can or should bind the Cusick matter to the MDL—a point particularly important considering

    this Court’s wholesale dismissal of Zantac cases. That said, the Cusick matter was filed in

    Delaware before this Court’s Daubert ruling, indicating that plaintiff intended to have this case

    proceed in Delaware before knowing where this Court would land on general causation.

           Here, the burden to prove jurisdiction rests with the removing parties seeking this Court’s

    jurisdiction despite getting litigate this case in their home forum of Delaware. And, for the

    purposes of this motion, absent clear and convincing evidence of consent—which is likely

    unobtainable considering the Plaintiff’s personal representative’s testimony to contrary—

    Defendants cannot meet this “heavy” burden. On this record, the Court cannot hold that Ms.

    Cusick’s personal representative clearly and convincingly consented to certification under PTO

    72 and, thus, cannot conclude that she waived her right to challenge an illegal removal in



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    violation of the forum defendant bar. Indeed, if “there is any doubt concerning jurisdiction of

    federal court on removal, the case should be remanded.” Martin v. Mentor, 142 F. Supp. 2d

    1346, 1347 (M.D. Fla. 2001) (quoting Campos v. Sociedad Aeronautica de Medellin

    Consolidada, S.A., 882 F. Supp. 1056, 1057 (S.D. Fla. 1994)). Like in Campion and Rounds,

    “the removing party” has not proven “by clear and convincing evidence that … there is no

    possibility the plaintiff” can establish that the provisions of PTO 72 do not bind her. Stillwell,

    663 F.3d at 1332. Remand should issue.

    III.   Plaintiff Rascento Certified his Stomach Cancer Case, But Deliberately Chose to
           Pursue his Prostate Cancer Case in Delaware State Court; Thus Plaintiff Rascento’s
           Prostate Cancer Claim Against Diversity-Destroying Patheon Is Not Fraudulently
           Joined

           Plaintiff Rascento, like Plaintiffs Campion and Rounds, also named Patheon as a

    defendant. And because Plaintiff Rascento and Defenant Patheon are both citizens of

    Massachusetts, this court does not possess subject matter jurisdiction over his Delaware

    complaint. Recognizing this, Defendants also claim that Patheon is fraudulently joined, arguing

    that like with Plaintiffs Campion and Rounds, that Plaintiff Rascento is estopped from suing

    Patheon pursuant to PTO 72.

           For Plaintiff Rascento, there is no dispute that the Plaintiff consented to pursuing his

    stomach cancer claim as a CFP. However, Plaintiff Rascento also developed prostate cancer as a

    result of ingesting ranitidine and chose not pursue that claim in the MDL as it was no longer

    being pursued by the leadership. See PTO 72 ¶ 11. Importantly, PTO 72 provided for

    circumstances wherein a claimant pursued multiple cancers, or where one cancer metastasized

    into another, see id. ¶ 12 n.7, but never specified how a plaintiff would be able to pursue

    alternative claims, i.e., that the ranitidine caused one designated cancer and, separately, an

    undesignated cancer. So, consistent with PTO 72, Plaintiff Rascento certified his stomach cancer

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    case and chose, separately, to not certify his prostate cancer claim, pursuing it, instead, in

    Delaware. Nothing under PTO 72 prohibited this. For now, Plaintiff Rascento complied with

    PTO 72 and filed his stomach cancer lawsuit in this MDL – which is now on appeal following

    the Court’s Daubert ruling and entry of judgment. Separately, Plaintiff Rascento has a case

    pending in Delaware which seeks recovery for a different injury against the Brand Defendants

    and Patheon. And, while Defendants may want to argue, before the Delaware court, that

    Plaintiff Rascento’s prostate lawsuit constitutes improper claim splitting – a difficult argument

    considering Rascento filed his prostate claim in Delaware before he filed his stomach cancer case

    in the MDL – they should raise that argument before the Delaware court, not here.5 Indeed, this

    Court simply does not have sufficient subject matter jurisdiction to resolve this nuanced state law

    issue which, in all likelihood, will require discovery regarding the merits of the claim.

             PTO 72 is clear that any disputes surrounding PTO 72’s application should be resolved in

    this Court. Indeed, it insists that anyone agreeing to PTO 72 consent to this Court’s jurisdiction

    regarding any dispute about PTO 72. However, no party and no Court has the authority to

    displace federal law and create subject matter jurisdiction, whether in an MDL or not. A party’s

    consent cannot create subject matter jurisdiction. And, as it stands, Plaintiff Rascento has an

    otherwise valid claim involving an injury that was never certified with this Court. There is no

    evidence that his claim against Patheon is otherwise impossible—the issue is simply whether his

    agreement to certify his stomach cancer claim estops a claim he expressly chose not to certify

    and pursue in a different court. Like all issues in the context of remand, the close issues fall in

    favor of remand.




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     Defendants did not raise this as a basis for fraudulent joinder in their notice of removal and, thus, cannot try to
    backdoor that argument now.

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                                             CONCLUSION

           For the forgoing reasons, Plaintiffs respectfully request that this Court grant this motion

    and enter an order remanding each case back to Delaware state court.

                                      REQUEST FOR HEARING

           Pursuant to Local Rule 7.1(b)(2), Plaintiffs respectfully request oral argument on this

    motion to respond to any questions or concerns the Court may regarding the legal and factual

    issues underpinning this Motion. A hearing would also give any the Court an opportunity to

    organize and discuss this Motion’s effect on the overall MDL, if any, and provide a platform for

    the Parties to address any issues that may arise between now and the Court’s ruling.

                    CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(3)

           Pursuant to Local Rule 7.1(a)(3), the undersigned, on behalf of Plaintiffs, conferred with

    all parties or non-parties who may be affected by the relief sought in the motion in a good faith

    effort to resolve the issues raised in the motion and has been unable to do so.

    Dated: April 9, 2024                          Respectfully submitted,

    /s/ R. Brent Wisner                           /s/ Jennifer A. Moore
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                                    CERTIFICATE OF SERVICE

            I hereby certify that on this 9th day of April, 2024, the foregoing was filed electronically

     through the Court’s CM/ECF system, which will send notice of filing to all CM/ECF participants.



                                                 /s/ R. Brent Wisner
                                                      R. Brent Wisner, Esq.




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